                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE
CONFERENCE OF THE NAACP,
CHAPEL HILL – CARRBORO NAACP,                   CASE NO. 1:18-cv-01034-LCB-LPA
GREENSBORO NAACP, HIGH POINT
NAACP, MOORE COUNTY NAACP,
STOKES COUNTY BRANCH OF THE
NAACP, WINSTON SALEM – FORSYTH
COUNTY NAACP

                        Plaintiffs,
      v.                                           PROPOSED INTERVENORS’
                                                  MOTION FOR A STAY PENDING
ROY ASBERRY COOPER III, in his official                    APPEAL
capacity as the Governor of North Carolina;
DAMON CIRCOSTA, in his official capacity
as Chair of the North Carolina State Board of
Elections; STELLA E. ANDERSON, in her
official capacity as Secretary of the North
Carolina State Board of Elections; DAVID C.
BLACK, KEN RAYMOND, and
JEFFERSON CARMON III, in their official
capacities as members of the North Carolina
State Board of Elections,

                       Defendants,
and
PHILIP E. BERGER, in his official
capacity as President Pro Tempore of
the North Carolina Senate, and
TIMOTHY K. MOORE, in his official
capacity as Speaker of the North
Carolina House of Representatives,
                 Proposed Intervenors.




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   PROPOSED INTERVENORS’ MOTION FOR A STAY PENDING APPEAL

       Pursuant to Federal Rule of Civil Procedure 62 and this Court’s inherent powers,

Philip E. Berger, President Pro Tempore of the North Carolina Senate, and Timothy K.

Moore, Speaker of the North Carolina House of Representatives, respectfully move this

Court to stay its preliminary injunction enjoining S.B. 824. Mem. Op., Order, and

Preliminary Injunction, Doc. 120 (Dec. 31, 2019), pending Proposed Intervenors’ appeal

of the order denying their motion to intervene. The motion should be granted for the reasons

stated in the accompanying brief in support.

Dated: January 10, 2020                            Respectfully submitted,

 /s/ Nicole J. Moss                                /s/ Nathan A. Huff
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                            CERTIFICATE OF SERVICE
       The undersigned counsel hereby certifies that, on January 10, 2020, I electronically

filed the foregoing Motion for a Stay Pending Appeal with the Clerk of the Court using the

CM/ECF system which will send notification of such to all counsel of record in this matter.



                                                 /s/ Nicole J. Moss
                                                 Nicole J. Moss




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